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Exhibit 67
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)

ANTITRUST LITIGATION, Master File No.

3:07-cv-05944 SC

THIS DOCUMENT RELATES TO:

ALL INDIRECT PURCHASER ACTIONS MDL No. 1917

VIDEOTAPED DEPOSITION OF ALBERT SIDNEY CRIGLER
Held at
Branstetter, Stranch & Jennings

Nashville, Tennessee |

Tuesday, October 23, 2012

9:43 a.m. - 12:50 p.m.

REPORTED BY: SANDRA LEE HOCKIN, CSR No. 7372

ALBERT SIDNEY CRIGLER

BARKLEY

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Court Reporters

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Q. Do you have any personal knowledge of who
manufactured the CRT in this TV?

A. How do you mean "personal knowledge"? I mean,
know that it was Philips.

Q. I don't want to know about any communications
with your lawyers.

A. Okay.

Q. But aside from that, do you have any knowledge,

any basis for knowing who made the CRT contained in this

TV?
A. I can't think of -- no, I don't know.
(Defendants' Exhibit 513 marked for
identification. )

BY MR. BALLARD:

Q. Sir, you've just been handed Exhibit 513. This

is a series of photos I can represent that I received

I

Erom your lawyer, Mr. Gralewski, by e-mail last week.
And they are Bates stamped. Wait a minute. They are not
Bates stamped.
There's five photos here of what appear to be
the inside of a TV. Is that right?
A. Correct.
Q. And are these photos of the inside of the Sharp

TV that we're talking about?

A. They are.

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been named in this lawsuit?

A. Yes.

Q. And if it turned out that the cathode ray tube
in this TV was manufactured by a company that did not
participate in the conspiracy that you're alleging in
this case, then you wouldn't have a claim for that TV,
would you?

MR. GRALEWSKI: Object to the form, incomplete
hypothetical, lacks foundation. Calls for a legal
conclusion.

THE WITNESS: I suppose not.

MR. BALLARD: Let's talk about the monitor.

(Defendants! Exhibit 514 marked for
identification.)

BY MR. BALLARD:

Q. So I would like to ask you some questions about
the other purchase on which you're basing your claims in
this case, and that's this Gateway computer monitor. Is

that right?

A. Mm-hmm.
Q. So you've just been handed Exhibit 514, and this
is another series of photos. These ones are Bates

stamped. The first page is CRT 1 and then 6, 7 and 8.
There's a gap there. 2, 3, 4, 5 are the Sharp photos

that we talked about earlier.

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break. I don't want to interrupt a line of questioning.

A. Correct.

Q. It was just sitting there?

A. Yes.

Q. When you donated it -- I mean, I know how that

sometimes works, but I think it can vary. Did you

receive any kind of compensation for that?

A. I didn't.
Q. Did you receive a write-off on your taxes?
A. I didn't. As far as I was concerned, they were

just doing me a favor to come pick all this stuff up.

Q. Okay. Do you know whether this monitor contains
a CRT -- contained a CRT?
A. I actually -- I assume that it does, but I never

personally opened the back of it and checked to see for
myself, so...

Q. Why do you assume that it does?

A. Because my understanding is a TV like -- like
the monitors and TVs that they made, that are big and
bulky and heavy, all contain CRT tubes.

Q. Okay. °

MR. GRALEWSKI: I don't want to interrupt your

questioning; but when it's convenient, I would like a

MR. BALLARD: I think this line could probably

be done in about five minutes.

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MR. GRALEWSKI: Thank you. That's fine.
BY MR. BALLARD:
Q. Did you believe this monitor had a CRT in it at
the time you bought it?
A. No. I didn't -- it wasn't on my radar.
Q. Okay. Did you consider purchasing a monitor

that uses a different kind of technology?

A. No.

OQ. Why not?

A. Like I said, it just wasn't -- wasn't something
I thought about at the time. I mean, I'm not even sure
there were flat-panel monitors. Maybe there were, but...

Q. Okay. You said that you assumed that there was

a CRT in this monitor. Assuming that's correct, do you
know who manufactured the CRT?

A. I don't.

Q. And there's really nothing that you could do to
find out, is there, since you don't have that monitor
anymore?

MR. GRALEWSKI: Object to the form, lacks
foundation.
THE WITNESS: Not that I'm aware of.
BY MR. BALLARD:
Q. Because you don't have any documents?

A. Right.

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